MANDATE
          Case 1:09-cv-01714-DAB-RWL
                Case 18-3036, Document 41,
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                                           02/20/2019,
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                                                                                                09-cv-1714
                                                                                                   Batts, J.

                             United States Court of Appeals
                                                   FOR THE
                                            SECOND CIRCUIT
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                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 20th day of February, two thousand nineteen.

     Present:
                    Barrington D. Parker,
                    Denny Chin,
                    Richard J. Sullivan,
                                                                                             Feb 20 2019
                          Circuit Judges.

     In re Deutsche Bank AG Securities Litigation


     Deutsche Bank AG, et al.,

                                   Petitioners,

                    v.                                                           18-3036

     Norbert G. Kaess, et al., on behalf of themselves and all
     others similarly situated,

                                   Respondents.


     Petitioners request, pursuant to Federal Rule of Civil Procedure 23(f), leave to appeal the district
     court’s order granting Respondents’ motion for class certification. They also move to file a reply.
     Respondents move for this Court to consider their arguments raised in opposition to the motion
     for leave to file a reply. Upon due consideration, it is hereby ORDERED that the motion to file
     a reply is GRANTED, and the motion for this Court to consider Respondents’ arguments in
     opposition to Petitioners’ motion is GRANTED. It is further ORDERED that the Rule 23(f)
     petition is DENIED because an immediate appeal is not warranted. See Sumitomo Copper Litig.
     v. Credit Lyonnais Rouse, Ltd., 262 F.3d 134, 139–40 (2d Cir. 2001).

                                                   FOR THE COURT:
                                                   Catherine O’Hagan Wolfe, Clerk of Court




MANDATE ISSUED ON 02/20/2019
